Case 1:04-cv-01176-STA Document 13 Filed 05/09/05 Page 1 of 2 Page|D 21

 

 

IN THE uNlTED STATES DISTRICT COURT 575/sw " pp
WESTERN DISTRJCT OF TENNESSEE `.9 9 `~"~
EASTERN DIVISION ,»?-';Q§g;,i%,» 0
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‘-'F`;/VS @/Sf@/Q
MARQUINTAS D. WALKER, ) 1¢4@/(3 0- C/
) »"1/ '
Plaintif`r`, )
)
v. ) Civil Action 1-04-1 176-T/AN
)
PORTER CABLE / DELTA, )
)
Defendant. )
)
0RDER GRANTING

DEFENDANT’S MOTION TO AMEND ANSWER

 

ON THIS DATE, the Court considered Defendant’s Motion to Amend Answer. lt appears
to the Court, and the Court fmds, that Defendant’S Motion to Amend Answer is Well taken and
should be granted.

lt is, therefore, ORDERED, ADIUDGED, AND DECREED that Defendant’S Motion to
Amend Answer is hereby GRANTED, and that Defendant Shall file its Arnended Answer Within

fifteen (15) days of the entry of this Order.

IT IS SO ORDERED,

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:04-CV-01176 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

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Honorable .1 ames Todd
US DISTRICT COURT

